Case 1:14-cr-00078-IMK-MJA Document 197 Filed 07/02/15 Page 1 of 4 PageID #: 516



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                   CRIMINAL NO. 1:14CR78-1
                                                 (Judge Keeley)


 TYREE DUPREE WILLIAMS,

                    Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On   June    24,   2015,   the   defendant,   Tyree   Dupree   Williams

 (“Williams”), appeared before United States Magistrate Judge John

 S. Kaull and moved for permission to enter a plea of GUILTY to

 Count Four of the Superseding Indictment. Williams stated that he

 understood that the magistrate judge is not a United States

 District Judge, and consented to pleading before the magistrate

 judge.     This Court had referred the guilty plea to the magistrate

 judge for the purposes of administering the allocution pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether    the    plea   was   knowingly   and   voluntarily   entered,   and

 recommending to this Court whether the plea should be accepted.

       Based upon Williams’ statements during the plea hearing and

 the testimony of Sergeant Todd Forbes, Monongalia County Drug and

 Violent Crime Task Force, the magistrate judge found that Williams

 was competent to enter a plea, that the plea was freely and
Case 1:14-cr-00078-IMK-MJA Document 197 Filed 07/02/15 Page 2 of 4 PageID #: 517



 USA v. TYREE DUPREE WILLIAMS                                          1:14CR78-1

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 voluntarily given, that he was aware of the nature of the charges

 against him and the consequences of his plea, and that a factual

 basis    existed   for   the   tendered    plea.    On   June   24,   2015,   the

 magistrate judge entered an Opinion/Report and Recommendation

 Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 194)

 finding a factual basis for the plea and recommending that this

 Court    accept    Williams’   plea   of   guilty   to   Count   Four    of   the

 Superseding Indictment.

         The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. After which,

 the parties did not file any objections.

         Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Williams’ guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Four of the Superseding Indictment.

         Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.

                                        2
Case 1:14-cr-00078-IMK-MJA Document 197 Filed 07/02/15 Page 3 of 4 PageID #: 518



 USA v. TYREE DUPREE WILLIAMS                                     1:14CR78-1

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

        1.   The    Probation     Officer     undertake     a    presentence

 investigation of TYREE DUPREE WILLIAMS, and prepare a presentence

 report for the Court;

        2.   The Government and Williams are to provide their versions

 of the offense to the probation officer by July 16, 2015;

        3.   The presentence report is to be disclosed to Williams,

 defense counsel, and the United States on or before September 1,

 2015; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

        4.   Counsel may file written objections to the presentence

 report on or before September 15, 2015;

        5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before September 29, 2015;

 and

        6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




                                       3
Case 1:14-cr-00078-IMK-MJA Document 197 Filed 07/02/15 Page 4 of 4 PageID #: 519



 USA v. TYREE DUPREE WILLIAMS                                          1:14CR78-1

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 factual     basis    from    the   statements    or   motions,   on   or   before

 October 13, 2015.

       The magistrate judge remanded Williams to the custody of the

 United States Marshal Service.

       The    Court    will    conduct    the    sentencing   hearing    for   the

 defendant on Thursday, October 29, 2015 at 11:30 A.M. at the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: July 2, 2015


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




                                           4
